Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 1 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 2 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 3 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 4 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 5 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 6 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 7 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 8 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 9 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 10 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 11 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 12 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 13 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 14 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 15 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 16 of 17
Case 20-41688   Doc 101   Filed 11/29/20 Entered 11/29/20 13:32:55   Desc Main
                          Document      Page 17 of 17
